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                                                                                         3:24MJ6 (TOF)
STATE OF CONNECTICUT                                      :              Filed Under Seal
                                                          :
                                                          :              ss: Hartford, Connecticut
                                                          :
COUNTY OF HARTFORD                                        :              January , 2024


AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

         I, Jonathan Sylvester, being duly sworn, hereby depose and state as follows:

                                      BACKGROUND OF AFFIANT

         1.       I am a Task Force Officer (“TFO”) with the New Haven Office of the Federal

Bureau of Investigation (“FBI”) and have been assigned to the Joint Terrorism Task Force Counter

Terrorism squad. I have been assigned by the FBI as a TFO since May of 2023 and have since

received many hours of training and knowledge from the FBI. I am also a Sergeant with the

Connecticut State Police Department, and I have been a duly sworn officer for the Connecticut

State Capitol Police department for approximately eighteen and a half years. As a member of the

Connecticut State Capitol Police Department, I have conducted countless investigations ranging

from assaults, threatening, harassments, thefts and robberies. Over these years I continued to obtain

further knowledge and experience in criminal investigations.

        2.        I submit this affidavit in support of an application for a criminal complaint and

arrest warrant charging AUBREY WAYNE ROSE, JR. (“ROSE”), an adult male born in 1980,

with making threats against federal officials on or about March 7, 2023, and December 20, 2023,

in violation of 18 U.S.C. § 115(a)(1)(B) (the “TARGET OFFENSE”) 1 According to law

enforcement databases and other reports I have reviewed, ROSE resides in Hartford, Connecticut.



1
 According to the U.S. District Court’s PACER system, ROSE has a pending civil case against the United States,
alleging federal tort claims against the U.S. Department of Veterans Affairs. See Rose v. United States, Case No. 3:23-
cv-01642 (VDO)(RAR) (D. Conn.) (pro se complaint filed on Dec. 15, 2023). The case was filed on December 15,
2023, and assigned to U.S. District Judge Vernon Dion Oliver and U.S. Magistrate Judge Robert A. Richardson.

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       3.      The statements contained in this affidavit are based in part on information provided

to me by other members of local, state, and federal law enforcement; my own investigation to

include personal observations, documents and other investigative materials that I have reviewed;

and my training and experience. Because this affidavit is being submitted for the limited purpose

of securing a criminal complaint and arrest warrant, I have not included each and every fact known

to me concerning this investigation. I have set forth only the facts that I believe are necessary to

establish probable cause for the requested criminal complaint and arrest warrant.

                                   THE TARGET OFFENSE

       4.      As noted above, this investigation concerns alleged violations of the following:

               a.      18 U.S.C. § 115(a)(1)(B) provides, in relevant part, that “[w]hoever

threatens to assault, kidnap, or murder, a United States Official, . . . or an official whose killing

would be a crime under [18 U.S.C. § 1114], with intent to impede, intimidate, or interfere with

such official . . . while engaged in the performance of official duties, or with intent to retaliate

against such official . . . on account of the performance of official duties, shall be [guilty of a

crime].” The term “United States official” is defined in the statute to include a Member of

Congress. The officials listed in 18 U.S.C. § 1114 are “any officer or employee of the United States

or of any agency in any branch of the United States Government (including any member of the

uniformed services) while such officer or employee is engaged in or on account of the performance

of official duties, or any person assisting such an officer or employee in the performance of such

duties or on account of that assistance.”




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                        THE INVESTIGATION AND PROBABLE CAUSE

        5.       ROSE is a military veteran who has been receiving outpatient treatment and other

services through the U.S. Department of Veterans Affairs (“VA”) at the West Haven VA Medical

Center and the Newington VA Clinic, both of which are in Connecticut.

        6.       Over the past few years, ROSE has had complaints about the VA and the Defense

Finance Accounting Service (“DFAS”), which is the U.S. Department of Defense agency that,

among other things, maintains and pays military retirees their monthly retirement and disability

benefits and Combat Related Special Compensation (“CRSC”).

        7.       As set forth below, in recent months, those complaints have escalated to threats of

violence against others, including making a threat via email against federal DFAS employees and

others on or about March 7, 2023 and making a threat on or about December 20, 2023 against the

West Haven VA Medical Center.

                                        March 7, 2023 Email Threat

        8.       On or about March 7, 2023, ROSE sent a threatening email from email account

aubrey.rose[redacted]@gmail.com (“Email Account 1”) to the DFAS hotline email account in

Cleveland, Ohio, another DFAS email account in Indianapolis, Indiana, offices of four members

of the United States Congress, 2 and other individuals. I have reviewed a copy of the email. The

email stated, in part, the following:

        I have waited over 4 years for a formal appeal of CRSC decision to not pay me and
        others like me properly. . . .

        I am asking for a formal appeal, I am asking that you do your job.

        If not the 2nd Amendment is in our Constitution for a reason. I will get this
        fixed.


2
 The identities of the four members of Congress are known to me but are anonymized in this affidavit. They include
members of Congress that represent a state outside of Connecticut.

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        ONE WAY OR ANOTHER. I PICKED UP A RIFLE TO PROTECT THIS
        COUNTRY BEFORE. I WILL MAKE SURE I PICK IT UP FOR MYSELF.

        IM TIRED OF GAMES YALL CAN FIX IT OR NOT. MY DECISION HAS
        BEEN MADE

        Aubrey Rose

(emphasis added).

        9.      On or about April 4, 2023, federal law enforcement agents interviewed ROSE at

his residence in Hartford, Connecticut. ROSE admitted he wrote the March 7 email to DFAS.

ROSE also confirmed his email address was Email Address 1. When asked what he meant in the

email by, “I picked up a rifle to protect this country before. I will make sure I pick it up for myself.

I’m tired of games Y’all can fix it or not. My decision has been made[,]” ROSE stated he was

willing to use his Second Amendment constitutional right and “if that’s what I got to do, that’s

what I got to do.” ROSE stated that sending the email was “my last resort.” Referring to DFAS,

ROSE stated “I hope they are afraid.” When asked what he meant, ROSE stated, “I said it to get

their attention, it’s been 5 years, and no one will listen to me.”

        10.     In the interview, ROSE stated he believes DFAS is not calculating his retirement

benefits correctly and he has put in multiple requests for a review of his retirement benefits. ROSE

told the agents he has post-traumatic stress disorder (“PTSD”) and traumatic brain injury from his

deployments to Iraq and Afghanistan. ROSE stated he was sorry for sending the emails and stated

he would not send anymore emails to DFAS. ROSE stated he is not suicidal and has no plans to

harm anyone. He also stated he does not own any guns and “got rid of his guns years ago.” The

agents verbally admonished him to not make threats of violence to DFAS or any other Federal

government agency and advised him that future threats could result in charges being brought

against him.



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                                   Other Threatening Behavior

       11.     On May 30, 2023, a person using Email Account 1 sent another threatening email

to several individuals, including an employee of the Connecticut Superior Court. As discussed

above, ROSE confirmed that Email Account 1 was his account. I have reviewed a copy of the

email. The email began by stating, “I hope everyone had a great weekend the following is my final

draft for what I will be sending to the” office of an unnamed member of the United States Congress.

“If you can review please let me know if not that is fine.” The email then discusses calculation of

benefits for veterans. The email concludes with the following:

       YOU and YOUR PEERS AND ALL OF THE OFFENDING DEPTS ARE
       TRAITORS THROUGH AND THROUGH.

       Our nation made laws to help those that serve but DFAS, the VA and various
       Senators are committing treason and murder by ignoring my cries for help. We
       have went from 22 veterans a day dying to 44 all form suicide. At this point in time
       this is the last time I will ask for help. After this our constitution has a 2nd
       Amendment for a reason. TO STOP A CORRUPT GOVT. Your continued
       refusal to acknowledge fact and ignore me will leave me with no other choice
       but use my 2nd Amend Rights to force this GOVT to do the right thing.

       I have done nothing but use all legal measures to get these actions corrected but to
       no avail.

       You call yourself a veteran, but you dont deserve to use those words. I look forward
       to see your response.

       I swore to protect this country against all enemies foreign and domestic. Your
       continued non compliance will only solidify my decision and force me to act
       with the only decision that yourself and other govt agencies have left. To force
       you comply or be killed in the process. Either way I will proudly move forward
       to expose you and your ilk.

(emphasis added).

       12.     The Connecticut Superior Court employee who received the email was concerned

with the safety of others due to the threats in the email, and he reported the email to law

enforcement.

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        13.      On May 30, 2023, a Connecticut State Trooper spoke to ROSE on the telephone.

According to a state arrest warrant application prepared by the trooper, ROSE began to explain

that all his statements in the email were true and began to defend his position explaining that he

was within his right and that what he said was legal. The trooper tried to question ROSE further,

but ROSE ended the call. 3

        14.      On or about the morning of June 5, 2023, ROSE attempted to gain access to the

Connecticut office of a Member of the United States Congress. ROSE was wearing a tan tactical

vest on his chest and what appeared to be two knives strapped to the back of the tactical vest.

Below are screenshots from surveillance video showing ROSE in the building where the office is

located, including a close-up view of what appear to be knives strapped to the tactical vest:




3
 On or about June 7, 2023, ROSE was arrested by Connecticut State Police and charged in Connecticut Superior
Court with Breach of Peace in the 2nd Degree for sending the May 30 email. According to information provided to
me by the state, the charges were subsequently dismissed, and ROSE was referred for mental health treatment.

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        15.     ROSE did not enter the office as office staff was able lock the door before he

entered. Office staff communicated with ROSE through the office intercom and informed ROSE

he was not welcome to the office due to his previous threatening behavior. ROSE began to yell

through the intercom and became irate that no one was listening or helping him. ROSE’s actions

caused office staff to fear for their safety.

        16.     Later that same afternoon, ROSE went back to the office and stood outside of the

office door and yelled through the intercom in a threatening manner. The building manager and

Hartford police escorted ROSE from the building as a trepasser.

                  December 20, 2023 Threat to West Haven VA Medical Center

        17.     According to reports and information provided to me by the VA, due to multiple

incidents of disruptive behavior at the VA campuses in West Haven and Newington, ROSE is a

category 1 flagged patient. As a flagged patient, ROSE must report to the VA police headquarters

upon arrival at the VA campuses in West Haven and Newington campuses, and he must be escorted

by two VA police officers at all times to and from his medical and non-medical appointments.




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       18.     According to VA police reports, on or about December 20, 2023, ROSE arrived at

the West Haven VA Medical Center. He had an appointment at 9am in Building 2, but police had

not been made aware of this appointment. When ROSE arrived, he failed to report his presence to

VA police headquarters as required. A VA police officer observed ROSE at approximately 9:01am

and alerted police dispatch. Officers conducted a search of the facility for ROSE, but they were

unable to locate him.

       19.     At approximately 10:30am, a police officer observed ROSE on closed circuit

television (“CCTV”) leaving the cafeteria along with a VA employee (with whom he had his 9am

appointment) and head towards another building on the campus. At 10:40am, ROSE entered the

other building and sat in a waiting area to meet with another doctor. As two VA police officers

entered the building, they positively identified ROSE. At approximately 10:42am, ROSE exited

the building and was observed on CCTV walking to the parking lot where his vehicle was parked.

       20.     At approximately 10:54am, VA police observed ROSE walking back into the main

lobby of building 2 at the West Haven VA facility wearing a tan tactical vest and carrying a

bullhorn. VA police officers made contact with ROSE in the building 2 elevator lobby and began

following him. The incident was captured on VA police body camera footage, which I have

reviewed. Below are screenshots from the body camera footage showing ROSE wearing a tan

tactical vest and holding the bullhorn:




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       21.     According to the body camera footage, ROSE entered an elevator at approximately

10:54am, and officers followed Rose into the elevator. At approximately 10:55am, ROSE exited

the elevator on the second floor, walked away from the elevator, looked around, and then turned

around and entered another elevator. Officers followed ROSE into the elevator. At approximately

10:56am, ROSE exited the elevator on the seventh floor, walked down the hall, entered a stairwell,

and proceeded to walk down the stairs.

       22.     The officers continued to follow ROSE down the stairs. Between approximately

10:56am and 10:57am, ROSE stated, “Next time I come back, I’m bringing a weapon.” One of

the officers asked, “Say what?” ROSE again stated, “Next time I come back, I’m bringing a

weapon” and shortly thereafter stated “you have been warned.”

       23.     At approximately, 10:57am, ROSE entered the 2nd floor from the stairwell, walked

past the pharmacy, then turned around and entered the stairwell again. At approximately 10:58am,

ROSE exited the stairwell on the 1st floor and exited building 2. At approximately 11:00am Rose

drove off the VA property.


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         24.      Shortly thereafter, at approximately 11:23am, ROSE entered the FBI visitor center

located at 600 State Street, New Haven, Connecticut, and requested to speak with a duty agent.

An FBI special agent spoke in person with ROSE, who wanted to follow up on his prior complaint

regarding corruption at the VA. 4 ROSE stated that he was not getting the help he was requesting

from the VA and from the office of a member of the United States Congress.

         25.      The agent attempted to provide ROSE with contact information for the VA Office

of Inspector General (“OIG”), but ROSE said he had tried every method possible to contact the

VA-OIG and no one was helping him out. The agent observed that ROSE was highly agitated.

ROSE stated that if he did not get the assistance he was seeking from the VA, he would have “to

go back to the VA with a firearm.” ROSE also specifically stated he would have to go back to

the VA with a shotgun slung across his chest. 5

                                                CONCLUSION

         26.      Based on the aforementioned factual information, I believe there is probable cause

that ROSE’s March 7, 2023 email to DFAS and other constitute a threat to assault (or murder)

DFAS employees and others, with the intent to impede or interfere in the performance of their

official duties, and with the intent to retaliate against them for not providing him the benefits he

believes he is entitled to receive. I further believe there is probable cause that ROSE’s December



4
  ROSE previously came to the FBI New Haven Visitor Center on or about December 4, 2023, to make a complaint
regarding corruption at the VA. Another agent and I spoke with ROSE that day. ROSE stated that the VA had failed
to provide certain benefits he was entitled to, and he described experiencing a series of bureaucratic roadblocks and
denials of certain services. ROSE advised he had yet to receive any written explanations for these denials, and he
sought an FBI investigation into the corruption and circumstances of his case. We advised ROSE to follow up with
the VA Office of Inspector General.
5
  On or about December 27, 2023, ROSE visited the FBI’s New Haven office again and dropped off a packet of
documents. The documents were not threatening in nature. The documents consisted of a motion for wrongful arrest
and claim for compensatory damages against the Connecticut State Police for violating his civil rights, a complaint
against the VA filed with the Department of Justice’s Civil Rights Division, a tort claim against the VA for
$100,000,000, and a complaint filed with the VA-OIG.


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20, 2023 statements to the FBI constitute a threat to assault (or murder) VA employees, with the

intent impede or interfere in the performance of their official duties, and with the intent to retaliate

against them for not providing him the benefits and services he believes he is entitled to receive.

       27.      Therefore, I respectfully request the issuance of a criminal complaint and arrest

warrant to charge and arrest ROSE with violations of the TARGET OFFENSE.

                                                       JONATHAN       Digitally signed by JONATHAN
                                                                      SYLVESTER (Affiliate)
                                                       SYLVESTER      Date: 2024.01.03 09:04:39
                                                       (Affiliate)    -05'00'
                                                       ______________________________
                                                       Task Force Officer Jonathan Sylvester
                                                       Federal Bureau of Investigation


The truth of the foregoing affidavit has been attested to me by Task Force Officer Jonathan
Sylvester over the telephone on this Ud day of January, 2024, at Hartford, Connecticut, in
accordance with the requirements of Fed. R. Crim. P. 4.1.

                  Date: 2024.01.03
                  09:48:29 -05'00'
___________________________________
HONORABLE THOMAS O. FARRISH
UNITED STATES MAGISTRATE JUDGE




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